   Case: 1:17-cv-08291 Document #: 112 Filed: 03/06/19 Page 1 of 2 PageID #:672



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEISY JAIMES, et al.,                           )
                                                )
             Plaintiffs,                        )          Case No. 17-cv-08291
                                                )
             v.                                 )
                                                )         Hon. Judge Jorge L. Alonso
COOK COUNTY, et al.,                            )         Hon. Sidney I. Schenkier
                                                )
             Defendants.                        )          JURY TRIAL DEMANDED


                                    NOTICE OF MOTION

       Please take notice that on Tuesday, March 12, 2019 at 8:30 a.m. or as soon thereafter as
counsel may be heard, counsel for Plaintiffs shall appear before Judge Schenkier in the court
room usually occupied by him at 219 South Dearborn, Chicago, Illinois and then and there
present Plaintiffs’ Motion to Compel Discovery.


                                                    Respectfully submitted,

                                                    /s/ Danielle Hamilton
                                                    Attorney for Plaintiff

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                                CERTIFICATE OF SERVICE

       I, Danielle Hamilton, an attorney, certify that on March 6, 2019, I caused the foregoing
Notice of Motion to be filed using the Court’s CM/ECF system, which effected service on all
counsel of record.


                                                    /s/ Danielle Hamilton
                                                    Attorney for Plaintiff
